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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

LA ROSA FRANCHISING, LLC and
LA ROSA REALTY, LLC,
                    Plaintiffs,

v.                                                 Case No: 6:21-cv-1660-ACC-DCI

ANA IVELISSE MORALES and
LA ROSA REALTY PUERTO RICO, PSC,
                   Defendants.


             MOTION TO WITHDRAW LR 3.01(G) CERTIFICATION

       Further to the Court’s order, see Dkt. 32, Plaintiffs move to withdraw the

Supplemental Certificate of Counsel filed pursuant to Local Rule 3.01(g), Dkt. 30. The

Certificate of conferral should not have been filed as a joint certification.

       Dated this 11th day of July, 2022.



                                            /s/ Bradford A. Patrick
                                            Bradford A. Patrick, Esq.
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                                            Counsel for Plaintiffs
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                                  Certificate of Service

      I hereby certify that on July 11, 2022, I electronically filed the foregoing

document with the Clerk by using the CM/ECF system, which will serve a copy on all

counsel of record.

                                                 By: /s/ Bradford A. Patrick
                                                         Bradford A. Patrick
